371 F.3d 1045
    Thomas SMITH, Plaintiff — Appellant,v.CITY OF HEMET, a municipal corporation; Hemet Police Department; Lee Evanson; Dave Quinn; Aaron Medina; Reinbolt; Trainer; Nate Miller; Peter Hewitt, Defendants — Appellees.
    No. 02-56445.
    United States Court of Appeals, Ninth Circuit.
    June 9, 2004.
    
      Donald W. Cook, Esq., Robert Mann, Esq., Los Angeles, CA, for Plaintiff-Appellant.
      Elizabeth Feffer, Burke Williams &amp; Sorensen, LLP., Los Angeles, CA, Aaron C. Harp, Esq., Burke, Williams &amp; Sorensen, LLP., Irvine, CA, for Defendants-Appellees.
      ORDER
      SCHROEDER, Chief Judge.
    
    
      1
      Upon the vote of a majority of nonrecused regular active judges of this court, it is ordered that this case be reheard by the en banc court pursuant to Circuit Rule 35-3. The three-judge panel opinion shall not be cited as precedent by or to this court or any district court of the Ninth Circuit, except to the extent adopted by the en banc court.
    
    